<0     Fill in this information to identify the case:

                                                                                                                                          's;^c c? ^^ ^:-:'
                                                                                                                          T-T? ~~f
        United States Bankmptcy Court for the:
                                                                                                                             TT"^ ^ -"•
                                                                                                                                            ~^.°. "Jt"'" ••:'.l i"? '~"'\
                                                                                                                                           _^^ u^> .-i''-^.-^. ;'




        Case number (ff   2J-TWfr^2                                                                                                       1-1 Check if this is an
                                                                                                                                             amended filing




      Official Form 201
     Voluntary Petition for Non-lndividuals Filing for Bankruptcy 06/22
     If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
     number (if known). For more infbnnation, a separate document,/nstrucffons for BantoupteyFo/ms for Non-frid/w'duafe, is available.




       i. Debtor's name                          //^'^7^) ^£^^_ /^^&^^^T ^^-


       2. All other names debtor used
          in the last 8 years
          Include any assumed names,
          trade names, and doing business
          as names




       3. Debtor's federal Employer ^ U-_\ ^ v~1 0
          Identification Number (EIN) w— — — — -^ —'




      4. Debtor's address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                            of business

                                                 9^7_^^,cL .^y 95^ ^/3^/ /^^
                                                 Number Street                                              Number Street


                                                  f_^^__^n                                                   ^<w
                                                                                                            P.O. Box


                                                 S^o -hfy J^ L ^ ^7^c>                                      j^/s<4^ ^- n-i-ss'
                                                 City State ZIP Code                                        City                            State ZIP Code


                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business
                                                 /H^/uco^/f Co^^i
                                                 County
                                                                                                            Number Street




                                                                                                            City                            State ZIP Code




      5. Debtor's website (URL)




     Official Form 201                              Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                     page 1
                  Case 2:23-bk-04390-EPB                    Doc 1 Filed 06/30/23 Entered 06/30/23 09:13:33                                            Desc
                                                                Petition Page 1 of 5
Debtor                   in UA^ Prt?^-^C\€S \^\^C                                            Case number (fTtoKwn^
              Mgr




 e. Type of debtor                                      (including Limited Liability Company (LLC) and Limrted Uabtlity Partnership (ILP))
                                         L3 Partnership (excluding LLP)
                                         a Other. Specify:,


                                        A. Check one:
 7. Describe debtor's business
                                        1.3 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Q Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                        d Railroad (as defined in 11 U.S.O § 101(44))
                                        Q Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        01 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Q^CIearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above



                                        B. Check all that apply:

                                        Q Tax-exempt entity (as described in 26 U.S.C. § 501 )
                                        a investment company, including hedge fund or pooled investment vehicte (as defined in 15 U.S.C.
                                           §80a-3)
                                        a Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(1 1))


                                        C. NAICS (Ncsth American Industry Classification System) 4-<iigit code ?at best describes debtor. See
                                            httEMftww.Mscoyrts.gov/^r^iciit^a'llonal-assQciatjon-na)^^^ .

                                            2-3-.fc.-L

    Under which chapter of the          Check one:
    Bankruptcy Code is the
    debtor filing?                      Q Chapter 7
                                        Q Chapter 9
                                           Chapter 11. Checfc all that apply.
    A debtor who is a "smaii business
    debtor" must check the firet sub-                   Q The debtor is a small business ddbfeHT as defined in 11 U.S.C. §101(510), and its
    box. A debtor as defined in                            aggregate noncontingent liquidated debts (exctuding debts owed to insiders or
    § 1182(1) who elects to proceed                           affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
    under subchapter V of chapter 11                          recent balance sheet, statement of operations, cash-fiow statement, and federal
    (whether or not the debtor is a                           income tax return or if any of these documents do not exist, follow the procedure in
    "smatt business debtor") must                             HU.S.C.§1116(1)(8).
    check me second sub-box.                               -The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts awed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet.
                                                              statement of operations, cash-flaw statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              §1116(1}(B).
                                                        Q A plan is being fiied with this petition.

                                                        Q Acceptances of the plan were solicited prepetition from one or more classes of
                                                           creditors, in accordance with 1 1 U.S.C. § 11 26(b).

                                                        01 The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                           Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                           Exchange Act of 1934. File the Attachment to Vofuntary Petition for Non-lndividuals Filing
                                                           for Bankruptcy under Chapter 1 1 (Official Form 201A) with this form.

                                                        LI The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12&-2.

                                        a Chapter 12




Official Form 201                         Voluntary Petition for Non-lndividuals Hling for Bankruptcy                                  page 2
           Case 2:23-bk-04390-EPB                    Doc 1 Filed 06/30/23 Entered 06/30/23 09:13:33                                      Desc
                                                         Petition Page 2 of 5
Debtor 6-^sUn
       W^<W UWL
              ^WL Pro^r\}€5 U-C
                  rro^m^ l-i-^ case number (r —L
           Narw



9. Were prior bankruptcy cases "Ej^No
   filed by or against the debtor
   within the last 8 vears? LJ Yes- Dist"ct _ _. _ ^_^,,^_^^^. When _ _______ _._ Case number
                                                                                           MM/ DD/YYYY
   ff more than 2 cases, attach a
                                                District . , , , ., When . , , Case number.
                                                                                           MM/ DD/YYYY

10. Are any bankruptcy cases j^ IMo
   pending or being filed by a
   business partner or an u Yes- Debtor , , , ,„ Relationship

   affiliate of the debtor? D,^ ______________ when
   Ust all cases. If more than 1, M^ / DD /YYYY
   attach a separate list. case number, if known


n. Why is the case filed in ffife Check all that apply:
   distrfcf?                        ^~^i         ...........                ....       ...
                                         .Debtor has had its domicile, prindpal place of business, or princip^ assets in this district for 180 days
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district

                                      d A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.



12. Does the debtor own or have Q ^o
  ???-e^.-^ 5.—Y- -T_ -._ - ^ - ^SsVes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
  property or personal property
  that needs immediate Why does the property need immediate attention? (Check aw that apply.)
  attention?
                                     Q It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                  What is the hazard?

                                              01 It needs to be physically secured or protected from the weather.

                                              Q It includes perishable goods or assets that could quickly deteriorate or fose value without
                                                  attention (for example, 1'ivestock, seasonal goods, meat, dairy, produce, or securities-related
                                                  assets or other options).

                                              ^ Other ?W(?rl<?S ^

                                              Where is the property? t°\ 0 ? fc^ J^l ^U/l^
                                                                         Number



                                                                                                                           h=_ ^5^<s\
                                                                        City ' ~ StateZIPCode


                                              Is the property insured?

                                            XNO
                                              d Yes. Insurance agency


                                                       Contact name


                                                       Phone




         Statistical and administrative information




Official Form 201 Voluntary Petition for Non-tndividuals Rling for Bankruptcy page 3
      Case 2:23-bk-04390-EPB                  Doc 1 Filed 06/30/23 Entered 06/30/23 09:13:33                                       Desc
                                                  Petition Page 3 of 5
Debtor
             Name
                                w         -^u'\\t5
                                         Cs-^1                   LLL                          Case number (fftoimm).




 13. Debtor's estimation of Check one;
     available funds Q Funds will be available for distribution to unsecured creditors.
                                         Q After any administrative expenses are paid, no funds will be available for distribution to unsecured aredttors.



                                           -1-49                            d 1.000-5,000                               Ct 25,001-50,000
 14. Estimated number of                 Q 50-99                            a 5,001-10.000                              a 50,001-100,000
    creditors
                                         Q 100-199                          a 10.001-25.000                             Q More than 100.000
                                         Q 200-999


                                         a $0-$50.000                      -Q^1,000,001"$10 million                     a $500,000,001^1 billion
 15. Estimated assets
                                         Q $50.001-$100.000                 Q $10,000,001-$50 million                   Q S1,000,000,001-$10 billion
                                         Q $100,001-$500,000                Q $50,000.001-$100 million                  a $10,000,000,001-$50 biliion
                                         Q $500,001-$1 million              D $100,000,001-$500 million                 Q More than $50 billion


                                        Q $0-$50,000                       a $1.000,001-$10 million                     Q $500,000,001 "$1 billion
 ie. Estimated liabilities
                                        a $50.001-$100.000                 a $10.000,001-?50 million                    U $1,000,000,001-$10 billion
                                        a $100,001-$500,000                Q $50,000,001-$100 million                   Q $10,000,000,001-$50 billion
                                           $500,001-$1 million             Q $100,000.001-$500 million                  Q More than $50 billion



            Request for Relief, Declaration, and Signatures



 WARNING - Bankmptey fraud is a serious cnme. Making a false statement in connection with a bankmptcy case can result in fines up to
               $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341.1519, and 3571.



17, Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                            petition.
   debtor

                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief mat the tnformation is true and
                                            correct



                                         dedare under penalty of perjury that the foregoing is true and correct.

                                           Executed on C^ -? 0 2^ ^3
                                                         MM /'bD/YYYY


                                           :T^o                                                           ^^ 0 /urs'ejl^c-
                                           Signature {if authorized representativeyf debtor               rinted name

                                           Title 0^€f^




Official Fomi 201                          Voluntary Pefition for Non-lndividuals Filing for Bankruptcy                                   page 4
         Case 2:23-bk-04390-EPB                    Doc 1 Filed 06/30/23 Entered 06/30/23 09:13:33                                        Desc
                                                       Petition Page 4 of 5
Debtor
                             ^
                       Uni Pr^r^S LU.                                            Case number {9known)_




 is. Signature of attorney
                                                                                            Date
                                  Signature of attorney for debtor                                       MM / DO /YYYY



                                  Printed name


                                  Firm name


                                  Number Street


                                 City                                                           State ZIP Code


                                 Contact phone                                                  Email address




                                 Bar number                                                     State




Official Form 201                Voluntary Petition for Non-lndividuals Filing for Bankruptcy                            page5
           Case 2:23-bk-04390-EPB         Doc 1 Filed 06/30/23 Entered 06/30/23 09:13:33                                 Desc
                                              Petition Page 5 of 5
